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  AMENDMENTS TO THIS PRETRIAL ORDER SHALL NOT BE PERMITTED UNLESS
  THE COURT DETERMINES THAT MANIFEST INJUSTICE WOULD RESULT IF THE
  AMENDMENT IS DISALLOWED. THE COURT MAY FROM TIME TO TIME SCHEDULE
  CONFERENCES AS MAY BE REQUIRED EITHER ON ITS OWN MOTION OR AT THE
  REQUEST OF COUNSEL.




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                                           /s/ Christopher C. Botta, Esq.
                                           Christopher C. Botta, Esq.
                                           Attorney for Defendant Witold Baginski




                                           s/Cathy L. Waldor 6/9/20
                                           ___________________________________
                                           HON. CATHY L. WALDOR
                                           United States Magistrate Judge
